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               IN THE UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF ARKANSAS
                        WESTERN DIVISION

UNITED STATES OF AMERICA                                               PLAINTIFF

v.                           No. 4:15-cr-62-DPM-1

RODOLFO VALDEZ                                                      DEFENDANT

                                     ORDER

      Yesterday the Court received a letter from Valdez. It is attached as

Exhibit 1. The Court directs the Clerk to file Exhibit 1 Ex Parte and Under Seal. The

letter is about the relationship between Valdez and his lawyer, who alone

shall have access to it. To protect the attorney-client privilege, neither the

public nor the United States Attorney shall have access to Exhibit 1.

      So Ordered.
